            Case 1:18-cv-01676-JLT-SAB Document 57 Filed 10/19/22 Page 1 of 1


 1

 2

 3

 4

 5

 6

 7

 8

 9                      UNITED STATES DISTRICT COURT
10                               EASTERN DISTRICT OF CALIFORNIA

11
     THOMAS BELTRAN, et al.,                          Case No. 1:18-cv-01676-JLT-SAB
12
                   Plaintiffs,                        ORDER GRANTING DEFENDANT’S
13                                                    SUBSTITUTIONS OF ATTORNEYS AND
            v.                                        DIRECTING CLERK OF COURT TO
14                                                    UPDATE DOCKET
     OLAM SPICES AND VEGETABLES, INC.,
15                                                    (ECF Nos. 55, 56)
                   Defendant.
16

17          On October 18, 2022, Defendant Olam Spices and Vegetables, Inc. filed two notices of

18 substitution of attorney forms, substituting new attorneys Jade Butman and Douglas Farmer, in

19 place of current attorney Susan K. Hatmaker. (ECF Nos. 55, 56.)
20          Accordingly, the Clerk of the Court is DIRECTED to add Jade Butman and Douglas

21 Farmer as attorneys for Defendant, and terminate attorney Susan K. Hatmaker from the docket.

22
     IT IS SO ORDERED.
23

24 Dated:     October 19, 2022
                                                      UNITED STATES MAGISTRATE JUDGE
25

26
27

28


                                                  1
